&lt;div class="content"&gt;
    &lt;div class="html-children"&gt;
        &lt;div&gt;&lt;header&gt;&lt;p id="Page" data-paragraph-id="35c0804c86"&gt; 1 &lt;/p&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="461a763b07"&gt;&lt;span data-sentence-id="5b62a2f3f7" quote="false" data-paragraph-id="461a763b07"&gt; Patience Solanke, Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="477400b0ea" quote="false" data-paragraph-id="461a763b07"&gt; &lt;br /&gt; Apple Store 1683 Briargate Pkwy # 315, Colorado Springs, CO 80920; Regional Manager Kim; Store Managers Marada and Karen Nunez; Staff Tarik, Jakub and Chris; Apple, Inc.&lt;/span&gt;&lt;span data-sentence-id="273b511aa1" quote="false" data-paragraph-id="461a763b07"&gt; One Apple Park Way, Cupertino, CA 95014; Apple, Inc Call Center; and Jeremy Senior Apple Inc.&lt;/span&gt;&lt;span data-sentence-id="7e5ca66842" quote="false" data-paragraph-id="461a763b07"&gt; Call Center Employee Mac Book Pro M1 Chip.&lt;/span&gt; Respondents &lt;/p&gt;&lt;p data-paragraph-id="327e6c740f"&gt;No. 24SC185&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4afc352e0c"&gt;July 22, 2024&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="2c27382c66"&gt;&lt;span data-sentence-id="5c7b2d479d" quote="false" data-paragraph-id="2c27382c66"&gt; Court of Appeals Case No. 23CA1085 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;
    &lt;/div&gt;
&lt;/div&gt;